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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


 MARC VEASEY, et al.,

                        Plaintiffs,

                v.                                       Civil Action No. 2:13-cv-193 (NGR)

 GREG ABBOTT, et al.,

                        Defendants.



                PRIVATE PLAINTIFFS’ UNOPPOSED MOTION FOR
            EXTENSION OF THE DEADLINE FOR FILING MOTIONS FOR
                  ATTORNEYS’ FEES, EXPENSES, AND COSTS

       Per the Court’s order of October 9, 2018, Private Plaintiffs’ motions for attorneys’ fees,

expenses, and costs are currently due on February 28, 2019. See Order on Deadline for Motions

Seeking Attorneys’ Fees (Doc. 1129). Private Plaintiffs respectfully move this Court for an

extension of the deadline to file those motions until March 21, 2019. Counsel for Private Plaintiffs

is requesting this extension because of the need for sufficient time to carefully review extensive

billing records spanning several years in order to make accurate and complete submissions to the

Court. Texas does not oppose this extension.

Date: February 19, 2019                       Respectfully submitted,

                                              /s/ Lindsey B. Cohan
                                              JON M. GREENBAUM
                                              EZRA D. ROSENBERG
                                              BRENDAN B. DOWNES
                                              Lawyers’ Committee for
                                              Civil Rights Under Law
                                              1401 New York Avenue NW Suite 400
                                              Washington, D.C. 20005
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                                WENDY WEISER
                                MYRNA PÉREZ
                                The Brennan Center for Justice at NYU Law School
                                120 Broadway, Suite 1750
                                New York, New York 10271

                                SIDNEY S. ROSDEITCHER
                                Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                1285 Avenue of the Americas
                                New York, New York 10019-6064

                                LINDSEY B. COHAN
                                Dechert LLP
                                500 W. 6th Street, Suite 2010
                                Austin, Texas 78701

                                NEIL STEINER
                                DECHERT LLP
                                1095 Avenue of the Americas
                                New York, New York 10036-6797

                                JOSE GARZA
                                Law Office of Jose Garza
                                7414 Robin Rest Drive
                                San Antonio, Texas 98209

                                DANIEL GAVIN COVICH
                                Covich Law Firm LLC
                                802 N Carancahua, Ste 2100
                                Corpus Christi, Texas 78401

                                GARY BLEDSOE
                                Potter Bledsoe, LLP
                                316 W. 12th Street, Suite 307
                                Austin, Texas 78701

                                VICTOR GOODE
                                NAACP
                                4805 Mt. Hope Drive
                                Baltimore, Maryland 21215




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                                ROBERT NOTZON
                                The Law Office of Robert Notzon
                                1502 West Avenue
                                Austin, Texas 78701

                                Counsel for the Texas State Conference of NAACP
                                Branches and the Mexican American Legislative
                                Caucus of the Texas House of Representatives

                                /s/ Leah Aden
                                SHERRILYN IFILL
                                JANAI NELSON
                                LEAH C. ADEN
                                DEUEL ROSS
                                NAACP Legal Defense and Educational Fund, Inc.
                                40 Rector Street, 5th Floor
                                New York, NY 10006

                                JONATHAN PAIKIN
                                KELLY P. DUNBAR
                                TANIA FARANSSO
                                Wilmer Cutler Pickering Hale and Dorr LLP
                                1875 Pennsylvania Avenue, NW
                                Washington, DC 20006

                                Counsel for Imani Clark

                                /s/ Chad W. Dunn
                                CHAD W. DUNN
                                K. SCOTT BRAZIL
                                BRAZIL & DUNN
                                4201 Cypress Creek Pkwy., Suite 530
                                Houston, Texas 77068

                                J. GERALD HEBERT
                                DANIELLE M. LANG
                                Campaign Legal Center
                                1411 K Street NW Suite 1400
                                Washington, DC 20005

                                ARMAND G. DERFNER
                                Derfner & Altman
                                575 King Street, Suite B
                                Charleston, S.C. 29403




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                                NEIL G. BARON
                                Law Office of Neil G. Baron
                                914 FM 517 W, Suite 242
                                Dickinson, Texas 77539

                                DAVID RICHARDS
                                Richards, Rodriguez & Skeith, LLP
                                816 Congress Avenue, Suite 1200
                                Austin, Texas 78701

                                Counsel for Veasey/LULAC Plaintiffs

                                LUIS ROBERTO VERA, JR.
                                Law Office of Luis Roberto Vera Jr.
                                111 Soledad, Ste 1325
                                San Antonio, TX 78205

                                Counsel for LULAC

                                /s/ Rolando L. Rios
                                ROLANDO L. RIOS
                                115 E. Travis, Suite 1645
                                San Antonio, Texas 78205

                                Counsel for the Texas Association of Hispanic
                                County Judges and County Commissioners

                                /s/ Robert W. Doggett
                                ROBERT W. DOGGETT
                                SHOSHANA J. KRIEGER
                                Texas RioGrande Legal Aid
                                4920 N. IH-35
                                Austin, Texas 78751

                                JOSE GARZA
                                Texas RioGrande Legal Aid
                                1111 N. Main Ave.
                                San Antonio, Texas 78212

                                Counsel for Lenard Taylor, Eulalio Mendez Jr.,
                                Lionel Estrada, Estela Garcia Espinoza, Margarito
                                Martinez Lara, Maximina Martinez Lara, and La
                                Union Del Pueblo Entero, Inc.




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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2019, a true and correct copy of the
foregoing document was served via the Court’s ECF system to all counsel of record.


                                           /s/ Lindsey B. Cohan
                                           Lindsey B. Cohan
                                           Dechert LLP
                                           300 W. 6th Street, Suite 2010
                                           Austin, Texas 78731
                                           lindsey.cohan@dechert.com




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


 MARC VEASEY, et al.,

                       Plaintiffs,

                v.                                     Civil Action No. 2:13-cv-193 (NGR)

 GREG ABBOTT, et al.,

                       Defendants.



   [PROPOSED] ORDER ON PRIVATE PLAINTIFFS’ UNOPPOSED MOTION FOR
         EXTENSION OF THE DEADLINE FOR FILING MOTIONS FOR
                ATTORNEYS’ FEES, EXPENSES, AND COSTS

       Having considered Private Plaintiffs’ Unopposed Motion for Extension of the Deadline

for Filing Motions for Attorneys’ Fees, Expenses, and Costs, the Court finds that the Motion

should be, and hereby is, GRANTED. The deadline to file all Motions for Attorneys’ Fees,

Expenses, and Costs is March 21, 2019.



So ORDERED this ___ day of February, 2019.


                                                    ______________________________
                                                    The Honorable Nelva Gonzales Ramos
                                                    United States District Judge
